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UN|TED STATES D|STR|CT COURT '
WESTERN D|STR|CT OF TENNESSEE i'~’ii-?._ _ _
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W.D. GF TN. Mt:ileHiS

ANTERR|OUS A. YOUNGBLOOD

William Anderson. Jr., CJA
Defense Attorney

142 North Third Street
Memphis, TN 38103

 

JUDGMENT |N A CR|MiNAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 9 of the Indictment on January 31, 2005.

According|y, the court has adjudicated that the defendant is guilty of the following
offense(s):

Date Count
Title & Section N_at._l!£M Offense MM(§)
Concluded
18 U.S.C. § 513(a) Aiding and Abetting in the Uttering or 11/20/2001 9

Possession of Counterfeit Security

The defendant is sentenced as provided in the following pages of this judgment The

sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the l\/landatory
Victims Restitution Act of 1996.

Counts 1 is dismissed on the motion of the United States.
lT |S FURTHER ORDERED that the defendant shall notify the United States Attorney for this district

Within 30 days of any change of name, residence, or mailing address until all fines, restitution, costs
and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 03/27/1981 April 13, 2005
Deft’s U.S. N|arshal No.: 19848-076

Defendant’s Nlailing Address:
1311 l\/chi|Ian Street
Nlemphis, TN 38106

/M wild

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Aprii 13 ,2005

 

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PROBAT|ON

The defendant is hereby placed on probation for a term of 2 ¥ears.

While on probation, the defendant shall not commit another federa|, state, or local
crime and shall not illegally possess a firearm, ammunition1 or destructive device. The
defendant shall also comply with the standard conditions that have been adopted by this
court (set forth below). lfthis judgment imposes a fine or a restitution obligation, it shall be
a condition of probation that the defendant pay any such file or restitution

The defendant shall refrain from any unlawful use of a controlled substance. The
defendant shall submit to one drug test within 15 days of release from placement on
probation and at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|TIONS OF SUPERV|S|ON

1. The defendant shall not leave the judicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(‘lO) days prior to any change in residence or
employment
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled su bstance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally sold, used,
distributed, or administered;

8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

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11.

12.

13.

The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendant’s criminal record or personal history or characteristics, and shall permit
the probation officer to make such notifications and to confirm the defendant’s compliance with such
notification requirement

|f this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Crimina| Monetary Penalties sheet of this judgment

ADD|T|ONAL COND|T|ONS OF PROBATION

The defendant shall also comply with the following additional conditions of probation:
The defendant shall make full financial disclosure as requested by the Probation Office.

The defendant shall not acquire any new financial obligations without the permission of the
Probation Office.

The defendant shall provide third-party risk notiHcation.

The defendant shall participate in substance abuse counseling and treatment as deemed
appropriate by the Probation Office.

The defendant shall cooperate with DNA collection as directed by the Probation Office.

CR|M|NAL MONETARY PENALT|ES

The defendant shall paythe following total criminal monetary penalties in accordance

with the schedule of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). All of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Tota| Assessment Totai Fine Totai Restitution
$100.00 $250.00

The Special Assessment shall be due immediately

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Case No: 2104CR20112-09-Nl| Defendant Name: Anterrious A. YOUNGBLOOD Page 4 of4

FINE
A Fine in the amount of $ 250.00 is imposed.
REST|TUT|ON
No Restitution was ordered.

SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties
shall be due as follows:

E. Special instructions regarding the payment of criminal monetary penalties:

The defendant shall pay fine in regular monthly installments of not less than 5% of
gross monthly income.

Un|ess the court has expressly ordered otherwise in the special instructions above, if thisjudgment
imposes a period of imprisonmentl payment of criminal monetary penalties shai| be due during the
period of imprisonment All criminai monetary penalties, except those payments made through the
Federal Bureau of Prisons’ inmate Financia| Responsibility Program, are made to the clerk of the
court, unless otherwise directed by the court, the probation officer, or the United States attomey.

The defendant shall receive credit for all payments previously made toward any criminal monetary
penalties imposed

   

UNITED `sATEs DISTRICT COURT - WETERN DSRTCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy ot` the document docketed as number 245 in
case 2:04-CR-20112 Was distributed by faX, mail, or direct printing on
April 21 , 2005 to the parties listed.

 

 

William C. Anderson
ANDERSON LAW FIRM
142 North Third St.
Memphis7 TN 38103

Timothy R. DiScenZa

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable .1 on McCalla
US DISTRICT COURT

